                    Exhibit 11
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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF
                         TENNESSEE GREENEVILLE DIVISION


   B.P., H.A., and S.H., individually, and on      No: 2:23-cv-00071-TRM-JEM
   behalf of all other similarly situated,

                  Plaintiffs,

   v.
   City Of Johnson City, Tennessee, et al.,

                  Defendants.

             PLAINTIFFS’ THIRD SET OF INTERROGATORIES AND REQUESTS FOR
               PRODUCTION OF DOCUMENTS TO DEFENDANT JUSTIN JENKINS

 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

        PLEASE TAKE NOTICE that pursuant to Rules 33 and 34 of the Federal Rules of Civil

 Procedure, Plaintiffs hereby request that Defendant Justin Jenkins respond and produce for

 inspection and copying, within thirty (30) days after service of these requests for production of

 documents.

                                         I. DEFINITIONS

        1.      “ASSETS” means all things of value to which an ownership interest can accrue

 including but not limited to real property, personal property, securities, and other financial

 instruments.

        2.      “COMMUNICATIONS” means written communications or records of oral

 communications of any kind that transmit information in the form of facts, ideas, opinions,

 questions, or otherwise. They include electronic communications such as emails, online messages,

 chat logs, mobile messages, talk-to-text messages, machine-generated messages, facsimiles, and

 telephone communications; as well as letters, memoranda, exchanges of written or recorded

 information, in-person meetings, and events attended by Responding Party and its representative.


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        3.        “DOCUMENT” means the term as used in Rule 34(a) of the Federal Rules of Civil

 Procedure. A draft or non-identical copy is a separate document within the meaning of this term.

        4.        “REGARDING” means referring to, reflecting, concerning, or being in a way

 logically or factually connected with the matter discussed.

        5.        “SEAN WILLIAMS” refers to the person named Sean Christopher Williams

 described in Plaintiffs’ Complaint.

        6.        “YOU” and “YOUR” means Justin Jenkins, and includes any trust or estate acting

 on his behalf.

        7.        “JCPD” means the Johnson City Police Department.

                                          II. INSTRUCTIONS

        1.        Please produce the DOCUMENTS responsive to the numbered requests below

 that are in YOUR possession, custody, or control.

        2.        The relevant time period for these Requests is January 1, 2018, to present.

        3.        Construe the terms defined above and the individual requests for production and

 inspection broadly, to the fullest extent of their meaning.

        4.        If YOU file a timely objection to any portion of a request, definition, or

 instruction, produce DOCUMENTS responsive to the remaining portion.

        5.        If any DOCUMENT is withheld, in whole or in part, for any reason, including but

 not limited to any claim of privilege of any kind, work-product protection, trade secret,

 confidentiality, or any basis asserted under Tennessee Code Annotated § 10-7-504, please set

 forth separately with respect to each DOCUMENT: (a) a description of the privilege or grounds

 for confidentiality claimed; (b) the author(s) of the DOCUMENT (identifying who, if any, are

 attorneys); (c) the recipient(s) of the DOCUMENT, including all persons who received copies of




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 the DOCUMENT (identifying who, if any, are attorneys); (d) the subject or title of the

 DOCUMENT; (e) the date of creation and/or date the DOCUMENT was sent; (f) a description

 of the DOCUMENT as set forth in Rule 26(b)(5)(A)(ii) of the Federal Rules of Civil Procedure;

 (g) the Bates range of the DOCUMENT; (h) a redacted version of the DOCUMENT; and (i) the

 privilege log reference number. Please produce any privilege log or list in an Excel spreadsheet

 or other format capable of electronic sorting.

        6.      Please produce any purportedly privileged DOCUMENT containing non-

 privileged material and redact only the portion purportedly privileged.

        7.      Pursuant to Rule 34(b) of the Federal Rules of Civil Procedure, produce all

 electronically stored information in native format (including metadata) whenever possible, or in

 the format mutually agreed upon by the parties.

        8.      Because these requests are ongoing, please promptly produce any DOCUMENT

 discovered or obtained after the service of these requests.

        9.      Produce all DOCUMENTS in a Bates Stamped Format.

        10.     If YOU are refusing to produce a DOCUMENT on the basis of privilege, please

 provide a Privilege Log.

        11.     If YOU are responding to an interrogatory by referring Plaintiffs to a

 DOCUMENT, please identify any DOCUMENT with specificity and by Bates range.

                                     III. INTERROGATORIES

        1.      Please state whether YOU were interviewed by Eric Daigle, or any associate with

 the Daigle Law Group, and if so, provide (a) the date of the interview, (b) all individuals present

 at the interview, and (c) the topics covered.




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         2.      Please state whether YOU were interviewed by any law enforcement agent or

 prosecutor (to include but not limited to, officers or agents of the Johnson City Police

 Department, the Tennessee Bureau of Investigation, the Federal Bureau of Investigation, the U.S.

 Department of Justice, or the District Attorney’s Office for the First Judicial District) on any

 topic relating to SEAN WILLIAMS, the seizure of WILLIAMS’ digital devices or safe on or

 about September 20, 2020, the public corruption investigation/inquiry of JCPD, and/or the sexual

 assaults of B.P., A.A., K.B., K.H., and A.S., and if so, provide (a) the date of the interview, (b)

 the name of the individuals present for the interview (including any representatives from JCPD,

 Defendant City, or their counsel), and (c) the topics covered.

         3.      Please state whether YOU conducted any searches on either public or law

 enforcement databases REGARDING the ASSETS of SEAN WILLIAMS, including his real

 property, any tax sales of his property, and any other transactions involving ASSETS of

 WILLIAMS.

         4.      Identify any Gmail accounts used for YOUR Personal Digital Assistants

 (“PDAs”). State whether those email accounts have been searched for responsive DOCUMENTS

 as part of this case.

                                   IV. DOCUMENT REQUESTS

         1.      All receipts for purchases and/or sales over $1,000 YOU made on Facebook

 Marketplace for the relevant time period.

         2.      All receipts for purchases and/or sales of the following ASSETS:

                 •       2018 Toyota Tundra

                 •       2006 Toyota Tundra

                 •       2016 Pop-up Camper




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               •       2021 Forest River Camper

               •       2018 Forest River RPOD Camper

               •       2006 Four Winns Horizon Speedboat

        3.     All titles held on RVs, boats, and cars in YOUR name, including titles no longer

 held in YOUR name, but which were held during the relevant time period.

        4.     Mortgage records for 107 Shady Rest Road during the relevant time period.

        5.     All bank records showing any deposit (other than salary payments from the

 Johnson City Police Department) over $2,000, which YOU made during the relevant time period.

        6.     Any written COMMUNICATIONS between YOU or YOUR counsel with the

 FBI, DOJ, TBI, or DA’s office relating to SEAN WILLIAMS, the investigation into SEAN

 WILLIAMS, the public corruption investigation and/or inquiry into JCPD, or YOUR role in the

 seizure of WILLIAMS’ safe or digital devices on or about September 20, 2020.


 Dated: May 15, 2024                 Respectfully submitted,

                                     /s/ Elizabeth A. Kramer
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                                CERTIFICATE OF SERVICE

 I HEREBY certify that a copy of the foregoing has been served via email on May 15, 2024 to
 counsel of record:

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                                                  capacity, Jeff Legault in his individual
                                                  capacity and Brady Higgins in his individual
                                                  capacity


                                                    /s Elizabeth A. Kramer
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